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AT 8:30_. mee UNITED STATES DISTRICT COURT
WILLIAM 7. WALSH, CLERK DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA Criminal No. 12- 9|5 (TAP)

v.
18 U.S.C. § 249(a) (1)
MICHAL GUNAR and 18 U.S.C. § 371
CHRISTOPHER ISING 18 U.S.C. § 2
INDICTMENT

The Grand Jury in and for the District of New Jersey, —
sitting at Newark, charges:
COUNT ONE
(conspiracy)
1. At all times relevant to this Indictment:
(a) Defendant MICHAL GUNAR was a resident of
Cranbury, New Jersey and a member of the white supremacist
organization known as the Aryan Terror Brigade (“ATB”).
Defendant MICHAL GUNAR espoused white supremacist views ina
variety of ways including, but not limited to, the use of an
internet-based, social media website.
(b) Defendant CHRISTOPHER ISING was a resident of
East Brunswick, New Jersey and a member of the white supremacist
organization known as the Atlantic City Skins (“ACS”) . Defendant
CHRISTOPHER ISING espoused white supremacist views in a variety
of ways including, but not limited to, the use of an internet-

based, social media website. Defendant CHRISTOPHER ISING also
 

 

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maintained numerous tattoos symbolizing white supremacist views
on his person, including swastika tattoos on his arms and back.

(c) MH, MS and RM were young males of Egyptian
descent who resided at an apartment complex in Sayreville, New
Jersey (“the Apartment Complex”).
The Conspiracy

2. From in or about December 2011, through on or
about January 31, 2012, in Middlesex County, in the District of
New Jersey and elsewhere, defendants
MICHAL GUNAR
and
CHRISTOPHER ISING
did knowingly and willfully conspire with each other and with
others to commit an offense against the United States; that is,
to willfully cause bodily injury to a person, specifically MH and
RM, who are of Egyptian descent, because of the person’s actual
and perceived race, color, and national origin, contrary to 18
U.S.C. § 249(a) (1).
Manner and Means and Object of the Conspiracy
3. It was the object of the conspiracy to cause

bodily injury to another person because of that individual’s

actual or perceived race, color, and national origin.

Overt Acts

4. In furtherance of the conspiracy, and to effect
its unlawful object, defendants MICHAL GUNAR and CHRISTOPHER
ISING committed and caused to be committed the following overt

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acts on or about December 31, 2011, in the District of New
Jersey:

(a) Defendant CHRISTOPHER ISING hosted a social
gathering for ATB members and affiliates at his residence in East
Brunswick, New Jersey, which was attended by defendant. MICHAL
GUNAR, among others.

(b) At the ATB social gathering, defendants
MICHAL GUNAR and CHRISTOPHER ISING drank alcohol, listened to
white supremacist music, and discussed plans to locate and
assault non-Caucasian individuals.

(c) During the social gathering, defendants
MICHAL GUNAR and CHRISTOPHER ISING, among others, departed the
East Brunswick residence and drove to the Apartment Complex.

(d) Defendant MICHAL GUNAR possessed a knife as
he proceeded to the Apartment Complex.

(e) Defendant CHRISTOPHER ISING possessed a pair
of brass knuckles as he proceeded to the Apartment Complex.

. (£) Upon their arrival at the Apartment Complex,
defendants MICHAL GUNAR and CHRISTOPHER ISING searched for non-
Caucasian individuals, and ultimately located and confronted MH,
MS and RM.

(g) Defendant MICHAL GUNAR confronted MH in the
Apartment Complex parking lot.

(h) Defendant MICHAL GUNAR forced MH away from a

vehicle and physically assaulted MH by punching him about the

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face and head, causing MH to sustain physical injuries including,
but not limited to, a bloody nose.

(i) During the assault on MH, defendant MICHAL
GUNAR shouted anti-Arab slurs. Specifically, defendant. MICHAL
GUNAR stated, in substance and in part, “Show me your faces you
Arab mother fuckers.”

(j) Defendant CHRISTOPHER ISING confronted RM in
the Apartment Complex parking lot as RM attempted to provide
assistance to MH.

(kK) Brandishing a pair of brass knuckles,
defendant CHRISTOPHER ISING physically assaulted RM by punching
him in the head, causing RM to sustain physical injuries
including, but not limited to, a puncture wound behind his left
ear.

(1) Defendants MICHAL GUNAR and CHRISTOPHER ISING
fled the Apartment Copmlex and returned to defendant CHRISTOPHER
ISING’S East Brunswick residence.

(m) Defendant MICHAL GUNAR posted a photograph on
an internet-based, social media website. The photograph depicted
an individual wearing a pair of pants which appeared to be
partially soiled with blood. Defendant MICHAL GUNAR posted a
caption underneath the photograph which read, “Fuck niggers.”

(n) On or about January 8, 2012, defendant MICHAL
GUNAR engaged in correspondence with another individual on an

internet-based, social media website. During that conversation,

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defendant MICHAL GUNAR discussed his activities on the evening of
December 31, 2011. Specifically, defendant MICHAL GUNAR stated,
in substance and in part, “...we went to hunt down some sand
niggers, it was me and my other bro on like 6 or eight and we
whooped them...”

In violation of 18 U.S.C. § 371.

 
 

 

 

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COUNT TWO
(Hate Crime and Aiding and Abetting)
1. Paragraphs 1, 3, and 4 of Count One of this
Indictment are hereby realleged and incorporated by reference as

though fully set forth herein.

2. From in or about December 2011, through on or
about January 31, 2012, in Middlesex County, in the District of
New Jersey and elsewhere, defendants

MICHAL GUNAR
and
CHRISTOPHER ISING
willfully caused bodily injury to a person, specifically MH and
RM, who are of Egyptian descent, because of the person’s actual

and perceived race, color, and national origin.

In violation of 18 U.S.C. 8§ 249(a) (1) and 2.

A TRUE BILL

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PAUL J. FISHMAN
United States Attorney
 

 

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